                                UNITED
            Case 3:19-mj-01015-BT      STATES
                                  Document    DISTRICT
                                           6 Filed        COURT
                                                   11/12/19 Page 1 of 1 PageID 11
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
JUDGE: IRMA CARRILLO RAMIREZ
DEPUTY CLERK Marie Castafreda                                  COURT REPORTER/TAPE NO: FTR
LAW CLERK:                                                     USPO/PTSO: Zarate
INTERPRETER:                                                   COURT    TIME:   2'-2) - ?'{Art
A.M.                 I P.M.2:00                                DATE: Novembei 12,'2019


td.,'*o.             !DISr.   CR.   No. 3:19-mj-01015-BT               USDJ Magistrate Judge Rebecca Rutherford

    UNITED STATES OF AMERICA                                                                                                    AUSA
                                                               $
                                                               $
                                                               $
                                                                                                                                           tr
                                                               $
                                                               $
                                                                                                                                           n
                                                                             L FOR DEFENDANTS APPT   -   (A), Retd   -   (R),    -   (F)
    DAVrD CADENA (1)                                           $


ffiITtel APPEARANcE IIDENTITY NBOND HEARING f]PRELIMINARY HEARING
n   DETENTIoN HEARING NCOUNSEL DETERMINATION HEARING TREMOVAL HEARING NEXTRADITION HEARING
n   HEA&NC CONTINUED ON                 CASE NO.             IIOTHER DISTRICT NDIVISION
sdnrn  oF FEDERAL ARREST/cuSToDY:         rlll2l20r9   IJSURRENDER
N RULE 5/32 IAPPEARED ON WRIT
*{eN     FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES IPROBATION/SUPERVISED RELEASE
                                                                                        VIOLATOR
g{prr    FIRST AppEARANcE wITH couNSEL.
n   DJtrT nMW (MATERIAL WITNESS)                      APPEARED f]WITH I]WITHOUT COUNSEL
E (.eeuesrs APPoTNTED coLrNsEL.
g-npq(Ncr                 -
t'rpq(Nct AL AFFI DAVtr EXECUTED.
E6MAN APPOINTING     FEDERAL  PUBLIC DEFENDER,
N PRIVATE COUNSEL APPOINTED
N DEFT HAS RETAINED COUNSEL
D ARRAIGNMENT SET NDETENTION HEARING            SET


X PRELIMINARY HEAzuNG SET                                NBOND HEARING SET
N COLTNSEL DETERMINATION HEARING         SET
N IDENTITY/REMOVAL HEAzuNG SET
! BOND NSET IREDUCEDTO          $                      NCASH   f]   SURETY   JlO% tr PR L]UNS f]3RD PTY trMW
N NO BOND SET AT THIS TIME,          DAY DETENTION ORDER TO BE ENTERED.
 N Ory)ER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.
                           - TRIAL ENTERED.
rgdnOgN OF DETENTION PENDING
 N DEFT ADVISED OF CONDITIONS OF RELEASE.
 T B-OND EXECUTED NDEFT NMW RELEASED ISTATE AUTHORITIES NINS
 {oew lMw REMANDED To cusroDY.
 a DHT ORDERED B!.EMOVED TO ORIGINATING DISTRICT.           ,/
 du1,q1yE*op nfnsr-rMtNARy HEARTNG a)WE s/32 HEARING E6TENTIoN HEARING
 dcounr FINDS pRoBABLE cAUSE f]ID aPC.
                                          ISSUANCE oF BENcH wannlr'n u s'
                                                                          DISrRIcrcouRr
; ;;;i;;-       ;;;;;;*   il;;*i*io*                                     ",''-'1"    NoRTTIERNDiSTRJCToFTr'>rns
D GOVERNMENT     TO NOTIFY FOREIGN      CONSULAR                                I              FII-ED
N REMARKS:

                                                                                             N(}v    | 2 2019

                                                                                     CLERK U.S. DISTRIQT COURT
